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   ATTORNEY  ORPARTY'',''O,'
    CounneyM. Coatcs.Esq.SBNZA3r4E
                                                                       (951)59SAttB
    LawOflis of CourtneyM Coores
    26201YnezRoodSuile103
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   ATTORNEY FOR Ptsinrrtf
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  b. Addrcss:14748PlpelineAvenus.SuiteB. ChinoHilrs.CA 91709
  c. Telephonc number: 909-684-9565
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